         Case 1:17-cv-00125-WS-B Document 81 Filed 01/17/18 Page 1 of 2


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 ANASTASIA P DIEHL,

       PLAINTIFF,

 VS.

 THE MONEY SOURCE INC.;                              Case No.: 1:17-cv-00125
 LOANCARE, LLC; EXPERIAN
 INFORMATION SOLUTIONS, INC.;
 EQUIFAX INFORMATION SERVICES,
 LLC; and TRANSUNION LLC,

       DEFENDANTS.


  JOINT STATEMENT REGARDING STATUS OF SETTLEMENT NEGOTIATIONS
            AND REQUEST TO EXTEND DISCOVERY DEADLINE


       Pursuant to the Court’s Scheduling Order in this matter, the parties jointly submit this

statement regarding the status of settlement negotiations:

       1.      The Plaintiff has reached a settlement with Experian Information Solutions, Inc.,

Equifax Information Services, LLC and TransUnion LLC. The parties are finalizing the release

and settlement agreements and the Plaintiff expects to dismiss her claims against the credit

reporting agencies in the coming weeks.

       2.      The Plaintiff has also made a demand to The Money Source Inc. and LoanCare,

LLC. The Plaintiff is currently awaiting a response to that demand.

       3.      The parties have made significant progress and have completed the exchange of

document discovery and have taken numerous depositions.

       4.      While the remaining parties are still in the process of settlement negations, there

are a few final depositions needed to complete the discovery phase of this case.

       5.      The remaining parties have also discussed setting a mediation in this matter

sometime in the next 30-60 days should a settlement not be reached within that time. This would
            Case 1:17-cv-00125-WS-B Document 81 Filed 01/17/18 Page 2 of 2


allow the finalization of discovery while continuing the settlement dialog between the remaining

parties1.

          6.      All Parties have been diligent in working together on discovery and in settlement

of this matter.

          WHEREFORE, the remaining parties, along with this report of settlement progress, request

a thirty (30) day extension on the discovery deadline to finalize all matters or in the alternative a

time that this Court deems appropriate.


    Dated: January 17, 2018                               Respectfully Submitted,

                                                By:       /s/ James D. Patterson
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 As a reminder to the Court, The Money Source and LoanCare are represented by the same law firm which has made
setting depositions and settlement negotiations much more efficient than if the parties were represented by a separate
counsel.
